 OAO 435            Case 2:18-cr-00422-DJH
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                                                                         Courts               Filed 08/28/23 Page  1 of 1USE ONLY
                                                                                                              FOR COURT
 AZ Form (Rev. 10/2018)                                                                                              DUE DATE:
                                     TRANSCRIPT ORDER

1. NAME                                                                             2. PHONE NUMBER                  3. DATE
          Eric W. Kessler                                                             480-644-0093                              08/28/2023
4. FIRM NAME
                 Kessler Law Group
5. MAILING ADDRESS                                                                  6. CITY                          7. STATE         8. ZIP CODE
                        6720 N. Scottsdale Road, Suite 210                                    Scottsdale               AZ                 85253
9. CASE NUMBER                          10. JUDGE                                                          DATES OF PROCEEDINGS
   2:18-cr-00422-DJH                                Humetewa                        11. 08/29/2023                   12. 11/09/2023
13. CASE NAME                                                                                             LOCATION OF PROCEEDINGS
   USA v. Lacey et al.                                                              14. Phoenix                      15. STATE AZ
16. ORDER FOR
9 APPEAL                                ✔
                                        9 CRIMINAL                                  ✔ CRIMINAL JUSTICE ACT
                                                                                    9                                   BANKRUPTCY
9 NON-APPEAL                            9 CIVIL                                     9 IN FORMA PAUPERIS                 OTHER (Specify)

17. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested.)

                PORTIONS                                   DATE(S)                             PORTION(S)                          DATE(S)
  9VOIR DIRE                                                                        ✔9TESTIMONY (Specify)
  9OPENING STATEMENT (Plaintiff)                                                      Witness Testimony
  9OPENING STATEMENT (Defendant)                                                                                         Whenever they testify
  9CLOSING ARGUMENT (Plaintiff)                                                      9PRE-TRIAL PROCEEDING                   Carl Ferrer
  9CLOSING ARGUMENT (Defendant)                                                                                             Jess Adams
  9OPINION OF COURT                                                                                                        Brian Fichtner
  9JURY INSTRUCTIONS                                                                 9OTHER (Specify)                       Daniel Hyer
  9SENTENCING                                                                                                                Ernie Allen
  9BAIL HEARING
18. ORDER
                        ORIGINAL + 1             FIRST            # OF               DELIVERY INSTRUCTIONS
  CATEGORY             (original to Court,                     ADDITIONAL                                                      ESTIMATED COSTS
                                                 COPY                                   (Check all that apply.)
                     copy to ordering party)                     COPIES
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    14 DAYS                    9                    9
7 DAYS(expedited)              9                    9                                ✔   PDF (e-mail)
    3 DAYS
                               9                    9
     DAILY                     ✔
                               9                    9                                    ASCII (e-mail)
   HOURLY                      9                    9
   REALTIME                                                                         E-MAIL ADDRESS
                                                                                     eric@kesslerlawgroup.net, ana@kesslerlawgroup.net
CERTIFICATION (19. & 20.) By signing below, I certify that I will pay all charges
                        (deposit plus additional).
                                                                                    NOTE: IF ORDERING MORE THAN ONE FORMAT,
19. SIGNATURE /s/ Eric W. Kessler                                                   THERE WILL BE AN ADDITIONAL CHARGE.
20. DATE 08/28/2023
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                                                                                    ESTIMATE TOTAL

                                                                                    PROCESSED BY                         PHONE NUMBER
ORDER RECEIVED                                   DATE                BY

DEPOSIT PAID                                                                        DEPOSIT PAID

TRANSCRIPT ORDERED                                                                  TOTAL CHARGES

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                                                                                    TOTAL REFUNDED
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PARTY RECEIVED TRANSCRIPT                                                           TOTAL DUE


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